                             Court of Appeals, State of Michigan

                                              ORDER
                                                                          William B. Murphy, C.J.
Jeffrey Minor v City of Sylvan Lake                                         Presiding Judge

Docket No.    314220; 314230; 316793                                      William C. Whitbeck

LC No.        2010-109596-NO                                              Michael J. Talbot
                                                                            Judges


                The Court orders that the motion for reconsideration is GRANTED for clarification
purposes, and this Court's opinion issued August 26, 2014 is hereby VACATED. A new opinion is
attached to this order.




Murphy, C.J., I concur in granting plaintiff's motion for reconsideration and agree that the initial
majority opinion should be vacated. And I also conclude that my prior concurring opinion should be
vacated. But I do not concur with the analysis and part of the result in the majority's new opinion on
reconsideration. Accordingly, I vacate my previous concun-ing opinion and issue the attached opinion
on reconsideration that concurs in part and dissents in part.




                        A true copy entered and certified by Jerome W. Zimmer Jr.. Chief Clerk, on




                                NOV 2 5 2014
                                       Date
